Case 1:23-cv-01463-ELH Document 38 _ Filed 12/20/24 Page1lof3
Case 1:23-cv-01463-ELH Document 37 Filed 12/20/24 Page1of3

IN THE UNITED STATES DISTRICT COURT Poy pee S |

FOR THE DISTRICT OF MARYLAND £ 4 He
S.H., et al., : Ae i)
Plaintiffs, . la [20f2y
Vv. *
Case No.: 1:23-cv-01463-ELH
UNIVERSITY OF MARYLAND
BALTIMORE COUNTY,
*
Defendant.
*
* * * * * * * * * * * * *

JOINT STATUS REPORT

Plaintiffs S.H., R.B., K.W., V.E., A.F., and M.W., by their undersigned counsel, and
Defendant University of Maryland Baltimore County, by its undersigned counsel, hereby submit
this Joint Status Report, as required by the Court in its Scheduling Order, dated October 16, 2024,
and state as follows:

a. Asoftoday, December 20, 2024, the parties have completed fact discovery. The parties

are continuing to engage in expert discovery in accordance with the February 1, 2025,
deadline.

b. No motions are currently pending.

c. Defendant intends to file a dispositive pretrial motion.

d. A jury trial has been requested by plaintiffs. The parties anticipate that a trial will last

14 days.
e. The parties certify that they attended an in-person mediation with Judge Coulson on
May 15, 2024, to discuss settling this case as well as the related case currently pending

in the Circuit Court for Baltimore County, Maryland, Case No. C-03-cv-23-03052.
Case 1:23-cv-01463-ELH Document38 _ Filed 12/20/24 Page2of3
Case 1:23-cv-01463-ELH Document37 Filed 12/20/24 Page 2of3

Counsel for the parties also attended an in-person settlement conference with a
settlement judge at the Circuit Court for Baltimore County on November 7, 2024.

f. Plaintiffs believe that mediation or ADR would be beneficial at this time or at some
point prior to trial. Defendant does not believe that further mediation or ADR would
be beneficial at this time, given that the two previous attempts at resolving the case
were unsuccessful. However, Defendant is open 'to exploring mediation following the
Court’s decision on Defendant’s dispositive motion.

g. The parties do not consent to the referral of this case to a U.S. Magistrate Judge for

further proceedings.
Respectfully submitted,
/s/ Rignal W. Baldwin V ANTHONY G. BROWN
Rignal W. Baldwin V (Bar No. 30136) Attorney General of Maryland
rbaldwinv@baldwin-legal.com
'/s/ Ariel Lichterman a
Baldwin Legal Group, LLC ARIEL LICHTERMAN (BAR NO. 20850)
_ 111 South Calvert Street, Suite 1805 alichterman@oag.state.md.us
Baltimore, Maryland 21202 Assistant Attorney General
T: (410) 385-5695 Higher Education Division
F: (443) 703-7772 200 St. Paul Place, 17th Floor
Baltimore, Maryland 21202-2021
Counsel for Plaintiffs, S\H., K.W., R.B., Phone: (410) 576-6559
M.W., A.F., and V.E. Fax: (410) 576-6437
is/ Jeffrey P. Bowman Attorneys for Defendant, University of
Jeffrey P. Bowman (Bar No. 28940) Maryland, Baltimore County

jbowman@BowmanJarashow.com

/s/ Lucas Van Deusen
Lucas: Van Deusen (Bar No. 30274)
lvandeusen@BowmanJarashow.com .

BOWMAN JARASHOW LAW LLC
162-West Street

Annapolis, Maryland 21401

P; (410) 267-9545

F: (443) 782-0241
Case 1:23-cv-01463-ELH Document 38 _ Filed 12/20/24 Page 3 of 3
Case 1:23-cv-01463-ELH Document37 _ Filed 12/20/24 Page 3of3

Counsel for Plaintiffs, SH, K.W., R.B., MW.,
A.F., and VE.

